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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES - GENERAL
     Case No.       2:18-cv-07241-CAS-PLA                             Date   November 6, 2018
     Title          KEVIN RISTO V. SCREEN ACTORS GUILD - AMERICAN
                    FEDERATION OF TELEVISION AND RADIO ARTISTS ET AL.



     Present: The Honorable         CHRISTINA A. SNYDER
        CATHERINE JEANG                                 Not Present                       N/A
               Deputy Clerk                      Court Reporter / Recorder              Tape No.

             Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                           N/A                                                N/A
     Proceedings:           DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ CLASS
                            ACTION COMPLAINT (Dkt. 18, filed September 17, 2018)

I.       INTRODUCTION
       On June 22, 2018, plaintiff Kevin Risto, on behalf of himself and all others
similarly situated (collectively, “plaintiffs”), filed this action in the Los Angeles Superior
Court against defendants the Screen Actors Guild-American Federation of Television and
Radio Artists (“SAG-AFTRA”) and American Federation of Musicians of the United
States and Canada (“AFM”) (collectively, the “Unions”); Raymond M. Hair, Jr., Tino
Gagliardi, Duncan Crabtree-Ireland, Stephanie Taub, Jon Joyce, and Bruce Bouton
(collectively, the “Trustees”); and Does 1 through 10. Dkt. 1-1 (“Compl.”). Plaintiffs
allege that, by enacting a Service Fee agreement with the Unions, the Trustee defendants
violated their fiduciary duties to their beneficiaries. Id. These beneficiaries include
plaintiff and other non-featured performance artists. Id. Plaintiffs also allege claims
against all defendants for (1) money had and received, (2) conversion, and (3) declaratory
relief. Id.
       On August 17, 2018, defendants removed this matter to this Court, pursuant to 28
U.S.C. § 1332(d). Dkt. 1. On September 17, 2018, defendants filed the instant motion to
dismiss, dkt. 18 (“Mot.”), along with a request for judicial notice in support of the motion
to dismiss, dkt. 19 (“RJN”). Plaintiffs filed an opposition to the motion to dismiss on
October 8, 2018. Dkt. 21 (“Opp’n”). Plaintiffs also opposed defendants’ request for
judicial notice. Dkt. 21-1 (“RJN Opp’n”). Defendants filed their reply to both the



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motion to dismiss and the request for judicial notice on October 22, 2018. Dkt. 23
(“Reply”); dkt. 23-1 (“RJN Reply”).
       The Court held a hearing on November 5, 2018. Having carefully considered the
parties’ arguments, the Court finds and concludes as follows.
II.   BACKGROUND
      Plaintiffs allege the following facts.
      Plaintiff Kevin Risto is a resident of Las Vegas, Nevada. He collects royalties
from the entitled the AFM and SAG-AFTRA Intellectual Property Rights Distribution
Fund (the “Fund,” described herein) as a non-featured artist for the song “When I See U,”
by Fantasia. Compl. ¶ 27. Risto has also written and produced songs for other artists,
including but not limited to, Justin Bieber and Jennifer Lopez. Id. Plaintiff received a
Grammy award for his work on Frank Ocean’s “Channel Orange” album. Plaintiff is not
a member of an artist union. Id.
      Defendant SAG-AFTRA is a corporation organized and existing under the laws of
Delaware and conducting business in the county of Los Angeles, CA. Id. ¶ 28.
Defendant AFM is a mutual benefit corporation that is organized and existing under the
laws of California, and conducts business in the County of Los Angeles, California. Id.
¶ 29. Defendants Hair, Gagliardi, Crabtree-Ireland, Taub, Joyce, and Bouton are all
residents of New York or California, and they were Trustees of the Fund, at the time the
alleged misconduct occurred. Id. ¶¶ 5, 30 – 35.
      A.     Statutory Framework
       17 U.S.C. § 114 provides a statutory license that allows digital performance and
reproduction of copyrighted sound recordings. Id. ¶ 1; 17 U.S.C. § 114 (West). As part
of that license, Congress has established a specific statutory schema to distribute royalties
when copyrighted songs are performed or otherwise reproduced publicly by means of a
digital audio transmission. Id. Section 114 designates SoundExchange, an affiliate of the
Recording Industry Association of America, as the sole entity to collect royalties from
those digital performances. Id. Then, pursuant to Section 114, the royalties are
distributed among the various artists, musicians, and copyright holders associated with a
given song, as follows:

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      (A) 50 percent of the receipts shall be paid to the copyright owner . . .
      (B) 2 ½ percent of the receipts shall be deposited in an escrow account managed by
      an independent administrator jointly appointed by copyright owners of sound
      recordings and the American Federation of Musicians (or any successor entity) to
      be distributed to nonfeatured musicians (whether or not members of the American
      Federation of Musicians) who have performed on sound recordings.
      (C) 2 ½ percent of the receipts shall be deposited in an escrow account managed by
      an independent administrator jointly appointed by copyright owners of sound
      recordings and the American Federation of Television and Radio Artists (or any
      successor entity) to be distributed to nonfeatured vocalists (whether or not
      members of the American Federation of Television and Radio Artists) who have
      performed on sound recordings.
      (D) 45 percent of the receipts shall be paid, on a per sound recording basis, to the
      recording artist or artists featured on such sound recording . . . .
17 U.S.C.A. § 114(g) (West); Compl. ¶ 2. Per Section 114, the collective 5% of royalties
for non-featured musicians and vocalists (“non-featured artists”) must be deposited in an
escrow account which is managed by an “independent administrator.” 17 U.S.C.A. §
114(g). By law, non-featured artists receive these royalties irrespective of their
membership in a union. Id.; Compl. ¶¶ 4, 6.
      B.     The AFM and SAG-AFTRA Intellectual Property Rights Distribution
             Fund
       The AFM and SAG-AFTRA Intellectual Property Rights Distribution Fund (the
“Fund”) was the I.R.C. §501(c)(6) nonprofit organization created, pursuant to Section
114, to receive and distribute the royalties and other remuneration, received from the
digital production of copyrighted songs, for non-feature artists. Id. ¶ 5. AFM and the
American Federation of Television and Radio Artists (“AFTRA”) established the Fund
through an Agreement and Declaration of Trust (the “Trust Agreement”), dated
September 16, 1998. Id. ¶ 7. Upon the merging of the Screen Actors Guild (“SAG”) and
AFTRA, the Agreement was amended and restated on July 26, 2012. Id. ¶ 8.



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        The Fund is managed by Trustees, who are responsible for implementing the
statutory rights, namely by collecting and distributing the royalties due to non-featured
artists. Id. ¶ 9. By the terms of the Agreement, the trustees owe a fiduciary duty to the
beneficiaries, and must protect the property held by the Fund. Id. ¶ 10. Since 2013, there
have been eight Trustees: three board members of the AFM union, three board members
of the SAG-AFTRA union, and two rank-and-file members, one from each union.
Id. ¶ 9.
      C.     Establishment of the Service Fee Agreement
       On July 22, 2013, the Fund entered into a Data Purchase and Services Agreement
(the “Services Agreement”) with the Union defendants. Id. ¶ 11. The Services
Agreement established that, in exchange “for providing the data and services
contemplated by this Agreement,” the Fund would pay the Unions “3% of the amount
distributed by the Fund” for each distribution cycle (the “Service Fee”). Id. This
amounts to 3% of the 5% of the royalties which are to be paid to non-feature artists,
under Section 114. The Agreement further stipulated that there would “be no additional
charges or expense reimbursement associated with” these services. Id.
       Plaintiffs allege that the Service Fee agreement was approved by the Trustee
defendants, who “were acting with deep conflicts of interest to the benefit of the Unions.”
Id. ¶ 13. Specifically, plaintiffs contend that all of the Trustees who approved the
Services Agreement have affiliations with the Unions: (1) Hair is the President of AFM;
(2) Gagliardi serves on the Executive Committee of AFM; (3) Crabtree-Ireland is the
Chief Operating Officer and General Counsel of SAG-AFTRA; (4) Taub previously
served as the National Manager of Sound Recordings for SAG-AFTRA; (5) Joyce is a
member of SAG-AFTRA and serves on the Board of SAG-AFTRA1; and (6) Bouton is a
member of AFM and is the Intellectual Property Rights committee Chair of the
Recording Musicians Association, which upon information and belief, plaintiffs claim is
an affiliated entity of AFM. Id. ¶¶ 13, 30 – 35. In addition, plaintiffs allege that Patricia
Polach, the general counsel for the Fund, has also served as counsel for AFM, AFTRA,


      1
        Plaintiffs allege that while Taub is a former Trustee of the Fund, who now serves
as the Fund’s Chief Executive Officer, she was one of the Trustees who approved the
Service Fee. Id. ¶¶ 13, 33.
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and SAG-AFTRA. Id. ¶ 22. Plaintiffs call this “a massive and obvious conflict of
interest.” Id.
       Plaintiffs also allege that “no new consideration was provided by the Unions in
exchange for the Service Fee” because the Unions were already performing the
obligations identified by the Services Agreement. Id. ¶ 16. Additionally, plaintiffs
contend that the Union’s obligations under the Services Agreement do not benefit the
non-featured artists who are not Union members. Id. ¶ 18. Since the establishment of the
Services Agreement, plaintiffs further allege that the Unions have not always fulfilled
their obligations. Id. ¶ 17. Specifically, plaintiffs claim that SAG-AFTRA has not given
the Fund access to member databases, session reports, and other applicable data, which
enables the Fund to identify the non-featured artists entitled to royalties, as contemplated
by the Services Agreement. Id.
       Plaintiffs therefore allege that the Trustees violated their duties to the Trust and its
beneficiaries. Id. ¶ 15. Plaintiffs allege that the Trustees have significant conflicts of
interest, and have used the Fund for the Unions’ benefit, as opposed to for the benefit of
the beneficiaries. Id. ¶ 20. Upon information and belief, plaintiffs allege that in 2016
alone, the Fund paid $1,743,712 to the Unions, and the Fund continues to pay the Unions
each year. Id. ¶ 21.
       Plaintiffs allege that the Trustee defendants breached their fiduciary duty to the
Fund by implementing the Service Fee. Id. ¶ 56. Plaintiffs also state a claim for (1)
money had and received and (2) conversion against all defendants. Id. ¶¶ 58 – 60, 66 –
70. Plaintiffs therefore seek equitable, declaratory, and injunctive relief which require
the Trustees to (1) revert back to the Fund the 3% Service Fee; (2) cease the collection of
the 3% Service Fee; and (3) declare the Services Agreement void and unenforceable.
Id. ¶ 23.
      D.     Tolling and Estoppel
       Plaintiffs seek repayment for all distributions following the establishment of the
Service Fee on July 22, 2013. Id. ¶ 23. Plaintiffs contend that “any applicable statutes of
limitations that might otherwise bar any of Plaintiffs’ claims are tolled by Defendants’
knowing and active concealment” of the Fund’s payment of the 3% Service Fee, which is
deducted from the royalties for non-featured artists. Id. ¶ 48. Plaintiffs specifically


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allege that, despite defendants’ duty to disclose to plaintiffs the amount of funds collected
by the Trust, as well as the sum diverted to the Unions, defendants “kept plaintiff[s] in
the dark as to necessary information essential to the pursuit of [their] claims” and hid
payment of the Service Fee from the beneficiaries. Id. ¶ 49. Accordingly, plaintiffs
contend that they “could not have reasonably discovered the substantial sum of money
being diverted from the Trust to the Unions,” and that defendants are estopped from
relying on any statutes of limitations in defense of this action. Id. Plaintiffs further
contend that defendants’ alleged breaches of fiduciary duty constitute continuing wrongs.
Id. ¶ 50. Therefore, plaintiffs state that the statute of limitations on these breaches will
not begin to run until the commission of the last wrongful act by the Trustees. Id.
III.   LEGAL STANDARDS

       A motion pursuant to Federal Rule of Civil Procedure 12(b)(6) tests the legal
sufficiency of the claims asserted in a complaint. Under this Rule, a district court
properly dismisses a claim if “there is a ‘lack of a cognizable legal theory or the absence
of sufficient facts alleged under a cognizable legal theory.’” Conservation Force v.
Salazar, 646 F.3d 1240, 1242 (9th Cir. 2011) (quoting Balisteri v. Pacifica Police Dep’t,
901 F.2d 696, 699 (9th Cir. 1988)). “While a complaint attacked by a Rule 12(b)(6)
motion to dismiss does not need detailed factual allegations, a plaintiff’s obligation to
provide the ‘grounds’ of his ‘entitlement to relief’ requires more than labels and
conclusions, and a formulaic recitation of the elements of a cause of action will not do.”
Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007). “[F]actual allegations must
be enough to raise a right to relief above the speculative level.” Id.

       In considering a motion pursuant to Rule 12(b)(6), a court must accept as true all
material allegations in the complaint, as well as all reasonable inferences to be drawn
from them. Pareto v. FDIC, 139 F.3d 696, 699 (9th Cir. 1998). The complaint must be
read in the light most favorable to the nonmoving party. Sprewell v. Golden State
Warriors, 266 F.3d 979, 988 (9th Cir. 2001). However, “a court considering a motion to
dismiss can choose to begin by identifying pleadings that, because they are no more than
conclusions, are not entitled to the assumption of truth. While legal conclusions can
provide the framework of a complaint, they must be supported by factual allegations.”
Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009); see Moss v. United States Secret Service,
572 F.3d 962, 969 (9th Cir. 2009) (“[F]or a complaint to survive a motion to dismiss, the

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non-conclusory ‘factual content,’ and reasonable inferences from that content, must be
plausibly suggestive of a claim entitling the plaintiff to relief.”). Ultimately,
“[d]etermining whether a complaint states a plausible claim for relief will . . . be a
context-specific task that requires the reviewing court to draw on its judicial experience
and common sense.” Iqbal, 556 U.S. at 679.

        Unless a court converts a Rule 12(b)(6) motion into a motion for summary
judgment, a court cannot consider material outside of the complaint (e.g., facts presented
in briefs, affidavits, or discovery materials). In re American Cont’l Corp./Lincoln Sav. &
Loan Sec. Litig., 102 F.3d 1524, 1537 (9th Cir. 1996), rev’d on other grounds sub nom
Lexecon, Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26 (1998). A court
may, however, consider exhibits submitted with or alleged in the complaint and matters
that may be judicially noticed pursuant to Federal Rule of Evidence 201. In re Silicon
Graphics Inc. Sec. Litig., 183 F.3d 970, 986 (9th Cir. 1999); Lee v. City of Los Angeles,
250 F.3d 668, 689 (9th Cir. 2001). “If the documents are not physically attached to the
complaint, they may be considered if the documents' ‘authenticity . . . is not contested’
and ‘the plaintiff's complaint necessarily relies’ on them.” Lee, 250 F.3d at 688. Per
Rule 201, a court may take judicial notice of a fact that “(1) is generally known within the
trial court's territorial jurisdiction; or (2) can be accurately and readily determined from
sources whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201. However,
“accuracy is only part of the inquiry under Rule 201(b). A court must also consider—and
identify—which fact or facts it is noticing from [a document]. Just because the document
itself is susceptible to judicial notice does not mean that every assertion of fact within
that document is judicially noticeable for its truth.” Khoja v. Orexigen Therapeutics,
Inc., 899 F.3d 988, 999 (9th Cir. 2018).

IV.   DISCUSSION

      A.     Judicial Notice
       Defendants request judicial notice of the following: (1) three annual reports, all of
which are publicly available on the Fund’s website, which cover the periods ending on
March 31, 2014, March 31, 2015, and March 31, 2016; (2) the Sound Recording
Distribution Guidelines, as well as the Symphonic Recording Distribution Guidelines,
both of which are published on the Fund’s website; (3) the Agreement and Declaration of

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Trust dated September 16, 1998, as well as the amended and restated Agreement and
Declaration of Trust, dated July 26, 2012; and (4) the Data Purchase and Services
Agreement, dated July 22, 2013. RJN at 1 – 2.
       Defendants seek judicial notice of the annual reports in order for the Court to
judicially notice that the Fund disclosed the existence of the Data Agreement, beginning
with the March 31, 2014 annual report. Mot. at 7. Defendants argue that the Court may
take judicial notice of the annual reports because the documents are all publicly available
on the Fund’s website, and because “they are ‘capable of accurate and ready
determination by resort to sources whose accuracy cannot reasonably be questioned.’”
RJN at 2 (quoting Fed. R. Evid. 201(b)(2)). Defendants cite numerous cases that permit
judicial notice of annual reports. RJN at 3; see, e.g., In re Am. Apparel, Inc. S'holder
Derivative Litig., No. CV 10-06576 MMM RCX, 2012 WL 9506072, at *18 (C.D. Cal.
July 31, 2012) (citing Metzler Inv. GMBH v. Corinthian Colleges, Inc., 540 F.3d 1049,
1064 n.7 (9th Cir. 2008)) (“Courts can consider securities offerings and corporate
disclosure documents that are publicly available.”). Plaintiffs contest judicial notice of
the reports, questioning their reliability, and arguing that “[t]he fact that the documents
are published on a public website . . . does not make them ‘public records’ for purposes
of the judicial notice rules.” RJN Opp’n at 4.
       The Court agrees with defendants. It therefore judicially notices the annual
reports, and the fact that defendants disclosed the existence of the Services Agreement
within them. As defendants noted, annual reports are readily noticeable, and in these
particular reports, a party cannot contest that the disclosure occurred. See RJN, Ex. 1 at
12 (stating that, “In June 2013, the Fund entered into services agreements with AFM &
SAG-AFTRA whereby they will provide the Fund membership data and other support
services that will help facilitate distributions to performers.”).
       Defendants also ask the Court to judicially notice the underlying Trust Agreement,
as well as the Services Agreement. RJN at 3. Plaintiffs respond that they do not object to
judicial notice “of the existence” of the documents, but that they “object [to] the court
tak[ing] judicial notice of the truth of the assertions contained” within the Agreements.
RJN Opp’n at 1. The Court finds that these agreements are all appropriately subject to
judicial notice because plaintiffs reference them repeatedly throughout their complaint.
See, e.g., Compl. ¶¶ 7 – 8, 11. With regard to defendants’ request for judicial notice of
the Sound Recording and Symphonic Recording Distribution Guidelines, the Court need

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not decide whether to judicially notice these documents, as the Court need not rely on
them for the present motion.
      B.     12(b)(6) Motion to Dismiss
             1.     Breach of Fiduciary Duty
       “The elements of a cause of action for breach of fiduciary duty are: (1) existence of
a fiduciary duty; (2) breach of the fiduciary duty; and (3) damage proximately caused by
the breach.” Rothenberger v. Green, No. SACV 13-174-JST (JPRx), 2013 WL 12130035,
at *4 (C.D. Cal. May 13, 2013) (citing Stanley v. Richmond, 35 Cal. App. 4th 1070, 1086
(1995)). “While breach of fiduciary duty is a question of fact, the existence of legal duty
in the first instance and its scope are questions of law.” Kirschner Bros. Oil, Inc. v.
Natomas Co., 185 Cal. App. 3d 784, 790 (Ct. App. 1986) (internal citations omitted).
Plaintiffs claim that the Trustee defendants breached their fiduciary duty to their
beneficiaries by entering into the Services Agreement with the Unions because conflicts
of interest existed between the Trustees and the Unions, and because the Fund received
no consideration in return for the Service Fee. Plaintiffs also allege that the Trustees
have violated their duty of impartiality to the Fund’s beneficiaries because the Services
Agreement does not benefit beneficiaries who are not Union members. Defendants move
to dismiss these claims.
                    a.    Duty of Loyalty

       The duty of loyalty is the “most stringent duty imposed by the law of trusts.”
O'Neal v. Stanislaus Cty. Employees' Ret. Assn., 8 Cal. App. 5th 1184, 1209 (Ct. App.
2017), review denied (May 10, 2017). It requires that, “[e]xcept as otherwise provided in
the terms of the trust, a trustee has a duty to administer the trust solely in the interest of
the beneficiaries, or solely in furtherance of its charitable purpose.” Rest. 3d Trusts § 78
(2007). Moreover, “[e]xcept in discrete circumstances, the trustee is strictly prohibited
from engaging in transactions that involve self-dealing or that otherwise involve or create
a conflict between the trustee's fiduciary duties and personal interests.” Id.

       Plaintiffs claim that the Trustee defendants breached their duty of loyalty by
entering the Fund into the Services Agreement with the Unions, to the benefit of the
Unions, despite the fact that the Trustees were employed by the Unions. Compl. ¶¶ 13,

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20, 56. Plaintiffs also allege that the Fund and the Union defendants share the same
lawyer, Patricia Polach, which creates another conflict of interest. Id. at 22. Defendants
argue that “plaintiff[s] do[] not back up [their] bald accusation with any facts to suggest
the Trustees were conflicted when they implemented the Service Fee.” Mot. at 15.
Defendants add that plaintiffs do not allege that the Trustees would personally benefit
from the implementation of the Service Fee. Id. Defendants further argue that plaintiffs’
allegations about the Fund’s and the Unions’ shared lawyer is “pure speculation” because
plaintiffs do “not allege that Ms. Polach ever served as a Fund trustee and thus had
decision-making authority as to the Service Fee.” Id. at 16 n.10.

       The Court finds that plaintiffs properly allege a breach of fiduciary duty, based on
an alleged breach of the duty of loyalty. Defendants understate the scope of the duty of
loyalty. The duty of loyalty does not solely apply to instances where the Trustee stands
to personally benefit. Instead,

      [a]lthough this duty is frequently invoked as a protection against creating conflicts
      between a trustee's fiduciary duties and personal interests, it is also understood to
      protect against improper influence generally. Thus, actions by a trustee may be
      considered improper if they are taken “either for the purpose of benefiting a third
      person (whether or not a party to the transaction) rather than the trust estate or for
      the purpose of advancing an objective other than the purposes of the trust.

O'Neal, 8 Cal. App. 5th at 1209 (citing Rest. 3d Trusts, § 78, com. f, p. 109; accord, Prob.
Code, § 16004, subd. (a)). As another court has explained, “Perhaps the most
fundamental duty of a trustee is that he must display throughout the administration of the
trust complete loyalty to the interests of the beneficiary and must exclude all selfish
interest and all consideration of the interests of third persons.” In re Northrop Grumman
Corp. Erisa Litig., No. CV 06-06213 MMM (JCx), 2015 WL 10433713, at *26 (C.D. Cal.
Nov. 24, 2015) (citing G. Bogert & A. Hess, The Law of Trusts and Trustees § 543 (3d
ed. 2015)) (emphasis added). By establishing the Service Fee, plaintiffs allege that
defendants acted not with “complete loyalty” to the interests of the Fund’s beneficiaries,
but with loyalty to a third party—the Unions who employ the Trustees. Compl. ¶ 55.
Plaintiffs claim that the Unions benefited from the transaction, to the detriment of the
beneficiaries. Id. ¶ 20. This conduct, if true, would constitute a breach of the duty of
loyalty under well-settled law.

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       Defendants’ argument that Section 114 provides for the Unions to appoint the
Trustees does change the Court’s conclusion. As a primary matter, plaintiffs do not
allege a conflict of interest because the Trustees were appointed by the Unions; plaintiffs
claim that the conflict exists because the Trustees are employed by the Unions. Compl.
¶ 13. Additionally, even with the appointments provision, Section 114 stipulates that an
“Independent Administrator” will oversee the Fund. 17 U.S.C. § 114(g)(2) (West). The
Court also acknowledges, as defendants argue, that Section 114 permits nonprofit entities
to deduct “reasonable costs” for “the administration of the collection, distribution, and
calculation of the royalties,” as well as other needs. 17 U.S.C.A. § 114(g)(3) (West).
However, plaintiffs’ claim is premised not on the payment of a fee in a vacuum, but on
the payment of a specific service fee to the Unions and which was allegedly negotiated
and implemented solely by Union members, employees, and potentially even a shared
attorney. Compl. ¶¶ 13, 20, 22.

       Accordingly, the Court finds that plaintiffs state a claim for breach of fiduciary
duty, based on the alleged breach of the duty of loyalty. Defendants’ motion to dismiss is
DENIED on this basis.

                    b.     Duty of Impartiality

      “A trustee has a duty to administer the trust in a manner that is impartial with
respect to the various beneficiaries of the trust. . . .” Rest. 3d of Trusts § 79 (2007). This
requires that, “in investing, protecting, and distributing the trust estate, and in other
administrative functions, the trustee must act impartially and with due regard for the
diverse beneficial interests created by the terms of the trust.” Id.

       Plaintiffs claim that the Trustee defendants violated their duty of impartiality by
establishing the Services Agreement because “none of the activities set forth in the
Services Agreement are for the benefit of non-Union, non-featured performers.” Compl.
¶ 18. Plaintiffs also allege that, “[i]n some instances, the Unions have not fulfilled their
obligations under the Services Agreement. For example, SAG-AFTRA has declined to
provide access to member databases, session reports and ‘B-forms,’ or other similar
databases.” Id. ¶ 17.



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       The Court has judicially noticed the Services Agreement because it is referenced in
the complaint, and the Court finds that the express terms of the Services Agreement
contradict plaintiffs’ allegation. The Services Agreement specifically identifies
obligations that confer benefit on non-Union members: the Unions must provide access to
session reports, “B-forms,” etc. for non-Union members. RJN, Ex. 8 (“Services
Agreement”) § 1 (the Services Agreement provides that the Union shall give the Fund
“access to session reports and ‘B-forms’ . . . for performers (Union members and
nonmembers)”). In addition, while plaintiffs also allege that the Unions have not
performed some of their obligations under the Services Agreement, compl. ¶ 17, this
allegation does not claim that the Unions have only failed to perform services for non-
Union beneficiaries. For example, the complaint alleges that the Union is not providing
"member databases." Additionally, the Unions’ alleged failure to perform certain
contractual obligations does not necessarily give rise to plaintiffs’ claim that the Trustees
violated their duty of impartiality.2

       Accordingly, because the Court finds that the activities set forth in the Services
Agreement are not exclusively for the benefit of Union members, the Court DISMISSES
with leave to amend the Trustee defendants’ alleged breach of the duty of impartiality
basis.

                   c.     Duties of Prudence, Diligence, and Good Faith

       The parties agree that (1) a trustee has a duty to administer the trust as a prudent
person would, in light of the purposes, terms, and other circumstances of the trust and (2)
that this duty requires the exercise of reasonable care, skill, and caution. See Mot. at 10;
Opp’n at 7 (citing Rest. 3d of Trusts § 77 (2007)). The parties add that, a “trustee has a
duty to administer the trust, diligently and in good faith, in accordance with the terms of
the trust and applicable law.” Rest. 3d of Trusts § 76 (2007). Plaintiffs claim that “the
Trustees unreasonably (and in bad faith) not only approved and paid purported ‘costs,’

      2
        In their opposition papers, plaintiffs add that “[t]he Unions only maintain contact
data for their members. This means that the non-union members are not getting anything
of value from the Unions in exchange for the payment of the Service Fee.” Opp’n at 9.
This claim is not alleged in the complaint and is accordingly not relevant for this motion
to dismiss.
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but also approved and paid the Service Fee to essentially skim 3% of the trust corpus to
the benefit of the Unions.” Opp’n at 8; compl. ¶ ¶ 19, 56 (emphasis in original).
Plaintiffs add that defendants received no consideration for the Agreement. Compl. ¶ 16.

       Pointing to both Section 114 and the Trust Agreement, defendants argue that the
Trustees were entitled to enter fee agreements. As mentioned, Section 114 provides that
“[a] nonprofit collective designated by the Copyright Royalty Judges to distribute
receipts from the licensing of transmissions. . . may deduct from any of its receipts, prior
to the distribution of such receipts . . . the reasonable costs of such collective” for
specified purposes, including “the administration of the collection, distribution, and
calculation of the royalties.” 17 U.S.C.A. § 114 (g)(3) (West). The Trust Agreement
expressly states that Trustees may purchase or obtain data from the Unions. RJN, Ex. 7
(“Trust Agreement”) Art. IV, §3(O). Defendants therefore contend that plaintiffs do “not
offer any facts that would support” a breach of fiduciary duty claim, because plaintiffs’
“vague breach accusations are based solely on the fact that the Trustees agreed to pay
anything at all in exchange for the information and services the Unions provide.” Mot. at
11, 12 (emphasis in original).

       The Court finds that plaintiffs adequately plead breaches of the duty of prudence,
diligence, and good faith. As defendants note, Section 114 and the Trust Agreement both
allow for the payment of certain reasonable costs. However, plaintiffs allege that the
specific Services Agreement that the Trustee defendants entered into was unnecessary.
Plaintiffs allege that the Unions already provided those services, that the Trustees
received no additional benefit from the agreement, and that the agreement was entered
into solely for the benefit for the Unions. Compl. ¶¶ 15, 16, 55–56. Accordingly, in
enacting the Services Agreement, plaintiffs allege that the Trustee defendants acted
unreasonably, in bad faith, and without prudence—in violation of Section 114, the Trust
Agreement, and the duties generally imposed on trustees. While defendants contend that
entering into the agreement was reasonable, given the expenses incurred by the Unions to
provide the data, mot. at 2, that is a question of fact for the factfinder—not a ground for
dismissal.

      Accordingly, the Court finds that plaintiffs adequately state a claim for breach of
the Trustees’ fiduciary duty on the basis of the Trustees’ duties of reasonableness and
good faith, diligence, and prudence.

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             2.     Money had and Received and Conversion

       Plaintiffs allege claims for (1) money had and received and (2) conversion. “The
count for money had and received states in substance that the defendant is indebted to the
plaintiff in a certain sum ‘for money had and received by the defendant for the use of the
plaintiff.’” 4 B.E. Witkin et al., Cal. Proc. § 561 (5th ed. 2008). “Conversion is the
wrongful exercise of dominion over the property of another. The elements of a
conversion claim are: (1) the plaintiff's ownership or right to possession of the property;
(2) the defendant's conversion by a wrongful act or disposition of property rights; and (3)
damages.” Lee v. Hanley, 61 Cal. 4th 1225, 1240 (2015) (citations omitted).

       Defendants seek to dismiss plaintiffs’ claims for (1) money had and received and
(2) conversion on the grounds that plaintiffs do not have a property interest in the Service
Fees. Mot. at 19. Defendants cite the Trust Agreement and Section 114, which state that
Trustees may pay certain administrative expenses related to the distribution of royalties,
to support their argument that “the Services Fees do not ‘belong’ to the Fund
beneficiaries.” Mot. at 19; see Trust Agreement, Article IV § 3; § 114(g)(3). Defendants
further assert that the Trustees have discretion to determine the royalties to be distributed,
based on eligibility. Mot. at 17, 19. The Trust Agreement itself provides that “No artist
or any person claiming by or through such artist . . . shall have any right, title or interest
in or to the Fund or any property of the Fund or any part thereof except as may be
specifically determined by the Trustees.” Trust Agreement, Art. XII, § 4. In response,
plaintiffs argue that they have a property interest because Section 114 establishes “a
legitimate claim of entitlement to” the Service Fee, and the Fund more generally. Opp’n
at 12 (citing Bd. Of Regents v. Roth, 408 U.S. 564, 577 (1972)). Plaintiffs assert that
“the Copyright Act itself, which clearly confers property rights to Plaintiff, prevails over
Defendants’ bad faith attempts to write it out of their trust administration.” Opp’n at 12.
        To claim a property interest, one “must . . . have a legitimate claim of entitlement
to it.” Roth, 408 U.S. at 577. Property interests “are created and their dimensions are
defined by existing rules or understandings that stem from an independent source such as
state law—rules or understandings that secure certain benefits and that support claims of
entitlement to those benefits.” Id. (citing, as an example, the property interest created by
welfare benefits, given the statute’s clear eligibility definitions). “Whether an
expectation of entitlement is sufficient to create a property interest ‘will depend largely

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upon the extent to which the statute contains mandatory language that restricts the
discretion of the [decisionmaker].’” Allen v. City of Beverly Hills, 911 F.2d 367, 370
(9th Cir. 1990) (citing Jacobson v. Hannifin, 627 F.2d 177, 180 (9th Cir.1980)).
Accordingly, “a statute must contain ‘particularized standards or criteria’ to create a
property interest.” Doyle v. City of Medford, 606 F.3d 667, 673 (9th Cir. 2010) (citing
Allen, 911 F.2d at 370–71). “A regulation granting broad discretion to a decision-maker
does not create a property interest.” Id. at 672–73.
       The Court finds that plaintiffs have adequately alleged a property interest in a
percentage of Fund receipts, as provided by 17 U.S.C. § 114. As plaintiffs argue, § 114
states with particularized precision that “a nonprofit collective . . . shall distribute [royalty
receipts] as follows: . . . (B) 2 ½ percent of the receipts shall be deposited in an escrow
account managed by an independent administrator . . . to be distributed to nonfeatured
musicians . . . [and] (C) 2 ½ percent of the receipts shall be deposited in an escrow
account managed by an independent administrator . . . to be distributed to nonfeatured
vocalists.” 17 U.S.C.A. § 114 (West). Pursuant to the statute, the Fund’s administrators
are considerably restricted in how they distribute royalties: the Copyright Act specifically
determines the percentages to which the various artists and copyright holders are each
entitled.
      To the extent that the language of the Trust Agreement, entered into by the Unions,
may be contrary to Congress’ statutory regime, § 114 prevails. In re Dixon's Estate, 143
Cal. 511, 514 (1904); Rest. 3d of Trusts § 29 (2003). Additionally, while § 114 may
permit Trustees to deduct “reasonable costs” and expenses—including for the
“administration of the collection, distribution, and calculation of the royalties”—this only
allows the deduction of “reasonable,” rightful costs. 17 U.S.C. § 114 (g)(3) (West). The
provision would not necessarily foreclose a beneficiaries’ property interest in Fund
receipts where, as here, plaintiff beneficiaries allege that fees have been wrongfully paid.
      Accordingly, the Court finds that plaintiffs adequately state claims for conversion
and for money had and received.
             3.     Declaratory Relief
      Plaintiffs request declaratory relief “determining that the statutory scheme
prohibits the Trustees from diverting three percent of the Royalties collected to the


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Unions, and declare the Data Purchase and Services Agreement void and unenforceable.”
Compl. ¶ 64. Defendants argue that plaintiffs improperly seek declaratory relief because
“the issue in controversy will be resolved by the Court’s determination of Plaintiff’s other
claims.” Mot. at 20. To this effect, defendants contend that plaintiffs’ request for
declaratory relief is redundant and unnecessary, since plaintiffs’ other claims will
determine whether the Services Agreement is proper. Reply at 18 – 19. However, “[t]he
fact that a declaratory judgment may be granted ‘whether or not further relief is or could
be prayed’ indicates that declaratory relief is alternative or cumulative and not exclusive
or extraordinary.” Fed. R. Civ. P. 57 advisory committee’s notes. In addition, while
defendants cite to a California practice guide which explains that “it is within a court's
discretion to dismiss a declaratory relief action where another form of relief is available
and adequate,” mot. at 20 (citing Michael Paul Thomas et al., Cal. Civ. Prac. Torts §
39:18 (Nov. 2018 ed.), this is still a discretionary determination.
      Accordingly, the Court DENIES defendants’ motion to dismiss plaintiffs’
declaratory relief claim.
             4.    Equitable Tolling

       Plaintiffs allege that “[a]ny applicable statute of limitations that might otherwise
bar any of Plaintiff[s’] claims are tolled by [d]efendants’ knowing and active
concealment of the wrongful diversion of monies from the corpus of the Trust to the
Unions.” Compl. ¶ 48. Defendants move to dismiss or strike these allegations. First,
defendants argue that, given the active concealment claim, plaintiffs’ allegations here
must meet the heightened pleading requirements of Federal Rule of Civil Procedure 9(b).
Mot. at 22. Defendants further argue that the annual reports definitively demonstrate that
the Trustees did not actively conceal the Service Fee, because the reports “repeatedly and
explicitly explained in detail the implementation of the Service Fee.” Id. at 23 (emphasis
omitted). Given that plaintiffs were on notice of the Service Fees, defendants add that
plaintiffs did not allege that they exercised reasonable diligence in investigating issues
related Services Agreement. Id.

       Plaintiffs respond that defendants prematurely seek to address factual issues, and
that plaintiffs were not, necessarily, under a duty to investigate the Service Fee, even
despite notice. Opp’n at 17 – 18. Citing California courts, plaintiffs argue that, “Where a
fiduciary relationship exists, facts which ordinarily require investigation may not incite

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suspicion and do not give rise to a duty of inquiry. Where there is a fiduciary relationship,
the usual duty of diligence to discover facts does not exist.” Id. (quoting Hobbs v.
Bateman Eichler, Hill Richards, Inc., 164 Cal. App. 3d 174, 201–02 (Ct. App. 1985)
(internal quotations and citations omitted). Plaintiffs therefore argue that a fact-finder
must decide what duty of diligence applies, which makes this issue inappropriate on a
motion to dismiss. Opp’n at 18. Defendants reply that plaintiffs still have “a duty to
investigate even where a fiduciary relationship exists when [they have] notice of facts
sufficient to arouse the suspicions of a reasonable man.” Reply at 20 (citing Graham-Sult
v. Clainos, 756 F.3d 724, 743 (9th Cir. 2014) (quoting Elec. Equip. Express, Inc. v.
Donald H. Seiler & Co., 122 Cal. App. 3d 834, 855 (Ct. App. 1981))(emphasis added).
       The Court finds that plaintiffs’ equitable tolling allegation must be dismissed.
Plaintiffs claim that equitable tolling applies because defendants “active[ly] conceal[ed]”
the Services Agreement and fees. Compl. ¶ 48. Specifically, plaintiffs claim that,
“[b]ecause of [d]efendants’ cover-up, proposed Class members could not have reasonably
discovered the substantial sum of money being diverted from the Trust to the
Unions. . . .” Id. ¶ 49. However, the annual reports that defendants produced, and which
the Court has judicially noticed, contradict this allegation. They demonstrate that
defendants annually disclosed the existence of the Services Agreement, along with the
sums paid to the Unions, following the establishment of the Services Agreement. See
RJN, Ex. 1– 3. Plaintiffs’ allegations, in their opposition brief, that plaintiffs were under
no duty to investigate the Fund’s payment of sums will not be considered at this time
because plaintiffs do not so allege this basis in their complaint.
     Accordingly, plaintiffs’ tolling and estoppel claims are DISMISSED, with leave to
amend. 3




      3
        Plaintiffs do not address defendants’ argument that plaintiffs’ active concealment
claim must satisfy Rule 9(b). The Court does not reach this issue because, irrespective of
whether Rule 8 or Rule 9(b) applies to this analysis, the outcome is the same: the Fund’s
publicly-available annual reports demonstrate that defendants did not actively conceal the
Services Agreement, or the fees paid.
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             5.    Punitive Damages

      Plaintiffs allege that defendants’ misconduct “was done . . . with the intent to vex,
annoy, and/or harass [plaintiffs] and to unjustly profit at [plaintiffs’] expense.” Compl. ¶
57. Plaintiffs therefore seek punitive damages pursuant to California Civil Code § 3294.
Defendants move to dismiss plaintiffs’ claim for punitive damages on the basis that
“plaintiff’s rote recitation of the Section 3294 elements is not sufficient to plead the
availability of punitive damages.” Mot. at 24 (citing Brousseau v. Jarrett, 73 Cal. App.
3d 864, 872 (Ct. App. 1977); Smith v. Superior Court, 10 Cal. App. 4th 1033, 1042 (Ct.
App. 1992)).

       The Court finds that plaintiffs adequately plead punitive damages. As a
preliminary matter, federal law determines the pleading standard for plaintiffs’ claims,
even as they arise out of California substantive law. See Watkinson v. MortgageIT, Inc.,
No. 10-CV-327-IEG (BLM), 2010 WL 2196083, at *10 (S.D. Cal. June 1, 2010)
(“[W]hile Section 3294 governs Plaintiff's substantive claim for punitive damages, the
Federal Rules of Civil Procedure govern the punitive damages claim procedurally with
respect to the adequacy of pleadings.” (emphasis omitted)); Clark v. State Farm Mut.
Auto. Ins. Co., 231 F.R.D. 405, 406 (C.D. Cal. 2005) (accord). Numerous courts in this
district and others have found that, “a plaintiff bringing an action in federal court ‘may
include a “short and plain” prayer for punitive damages that relies entirely on
unsupported and conclusory averments of malice or fraudulent intent.’” Clark, 231
F.R.D. at 406; see also Bobrick Washroom Equip., Inc. v. Am. Specialties Inc., No. CV
10-6938-SVW (PLAx), 2010 WL 11462854, at *4 (C.D. Cal. Dec. 15, 2010); Price v.
Kawasaki Motors Corp., USA, No. SACV 10-01074-JVS, 2011 WL 10948588, at *7
(C.D. Cal. Jan. 24, 2011); but see Diaz v. Bank of Am. Home Loan Servicing, L.P., No.
CV 09-9286 PSG (MANx), 2011 WL 13046844, at *5 (C.D. Cal. July 8, 2011) (finding
that plaintiff did not allege sufficient facts to substantiate its punitive damages claim).
      This Court adopts the position of many other courts in this district that “[p]laintiff
only needs to provide notice pleading pursuant to Rule 8(a) with regards to its claim for
punitive damages; conclusory pleading is sufficient.” Access Holdings Corp. v. Ball, No.
CV 10-04329 SJO (DTBx), 2010 WL 11552872, at *5 (C.D. Cal. Dec. 14, 2010).
Accordingly, defendants’ motion to dismiss plaintiffs’ punitive damages claim is
DENIED.

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V.    CONCLUSION
       The Court DENIES defendants’ motion to dismiss claim 1, for breach of fiduciary
duty, on the basis of the duty of loyalty and the duties of prudence, diligence and good
faith. The Court DISMISSES with leave to amend claim 1 to the extent that it is
premised on the duty of impartiality.
      The Court DENIES defendants’ motion to dismiss claim 2 (money had and
received), claim 3 (declaratory relief), and claim 4 (conversion).
     The Court DENIES defendants’ motion to dismiss plaintiffs’ claim for punitive
damages.
      The Court DISMISSES with leave to amend plaintiffs’ allegations in support of
equitable tolling.


      IT IS SO ORDERED.

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